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            EXHIBIT A-33
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                DISTRICT OF COLUMBIA COURT OF APPEALS

                BOARD ON PROFESSIONAL RESPONSIBILITY                         Sep 1 2022 4:52pm



    In the Matter of

    JEFFREY B. CLARK                               Disciplinary Docket No.

    A Member of the Bar of the District            2021-D193
    of Columbia Court of Appeals

    Bar No. 455315

    Date of Admission: July 7, 1997


                         ANSWER OF RESPONDENT

         Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and for

his Answer to the Specification of Charges, pleads the following, subject to the

caveat that this filing is made in a fashion akin to a special appearance designed

merely to preserve all of and not waive any of Respondent’s rights, since Respondent

steadfastly maintains that




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                                                                                :


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 FIRST DEFENSE—                                                                                          S           E
                                                         T                     S




      SECOND DEFENSE—




2 The listing of all defenses beginning with this one should not be taken to mean that Respondent is assuming the
burden of proof as to every one of the defenses pleaded. To the contrary, on many of the defenses, ODC bears the
burden, especially regarding the jurisdictional defenses, since ODC must affirmatively establish that jurisdiction exists
in this case.


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  T H I R D D E F E N S E —J U R I S D I C T I O N I S A B S E N T I N L I G H T O F T H E T A K E
 CARE CLAUSE, OPINION CLAUSE, AND LACK OF COMPLAINT AGAINST
                    RESPONDENT BY THE FORMER PRESIDENT

         The D.C. Bar lacks jurisdiction over the conduct of the Respondent referred

to in the Charges because the President has an absolute right to seek legal and other

forms of advice as to the discharge of his responsibilities under the Take Care Clause,

U.S. Const., art. II, § 3, and officers of the United States have an absolute duty and

corresponding privilege to provide their opinions on a confidential basis when the

President so asks. U.S. Const. art. II, § 2, cl. 1 (Opinion Clause). D.C. R.P.C. 2.1.3

At no time has President Trump complained about the legal, factual, and/or policy

advice he received from Respondent or voluntarily submitted a dispute of that nature

to the D.C. Bar for investigation and adjudication.

   F O U R T H D E F E N S E —J U R I S D I C T I O N I S A B S E N T U N D E R T H E O P I N I O N
   C L A U S E C O U P L E D W I T H 28 U.S.C. § 506 A N D T H E A U G U S T 2, 1985
                                        OLC O P I N I O N

         The D.C. Bar lacks jurisdiction over the conduct of the Respondent referred

to in the Charges under the Opinion Clause of Article II of the U.S. Constitution. See

also 28 U.S.C. § 506 (most Assistant Attorney Generals, including Mr. Clark, to be

appointed by President with advice and consent of Senate); U.S. Department of

Justice, Office of Legal Counsel Opinion, State Bar Disciplinary Rules as Applied



3 Rule 2.1 provides, in full: “In representing a client, a lawyer shall exercise independent professional judgment and
render candid advice. In rendering advice, a lawyer may refer not only to law but to other considerations such as
moral, economic, social, and political factors, that may be relevant to the client’s situation.”


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to Federal Government Attorneys (Aug. 2, 1985) (“Rules promulgated by state

courts or bar associations that are inconsistent with the requirements or exigencies

of federal service may violate the Supremacy Clause.”), available at

https://tinyurl.com/56bft7sb, last visited (Sep. 1, 2022) (“OLC Opinion”).

 F I F T H D E F E N S E —J U R I S D I C T I O N I S A B S E N T W H E R E I T W O U L D I N V A D E
           A SPHERE OF UNREVIEWABLE PRESIDENTIAL AUTHORITY

       The D.C. Bar lacks jurisdiction over the conduct of Respondent referred to in

the Charges under the Constitution of the United States because attempting to assert

jurisdiction over Respondent’s conduct as alleged in the Charges would intrude on

the President’s exclusive and unreviewable authority over federal criminal and civil

investigations occurring during his term of office, pursuant to the Take Care Clause

and as such authority is delegated by the President consistent with the U.S.

Department of Justice power structure established in 28 U.S.C. § 506.

S I X T H D E F E N S E —J U R I S D I C T I O N I S A B S E N T W H E R E I T W O U L D I N T R U D E
          ON PRESIDENTIAL APPOINTMENTS CLAUSE PREROGATIVES

       The D.C. Bar lacks jurisdiction over the conduct of Respondent referred to in

the Charges under the Constitution of the United States because attempting to assert

jurisdiction over Respondent’s conduct as alleged in the Charges would intrude on

the President’s exclusive and unreviewable authority to remove and appoint senior

officials of the Department of Justice. See U.S. Const. art. II, § 2, cl. 2 (Appointments

Clause). Note as well that the House Select Committee on January 6 presented



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evidence that at the time an Oval Office meeting is said to have commenced on

January 3, 2022, Respondent was then the Acting Attorney General of the United

States, even though that later changed.

S E V E N T H D E F E N S E —T H E B O A R D H A S N O J U R I S D I C T I O N T O E N F O R C E
UNANIMITY AMONG THE OFFICERS OF THE DEPARTMENT OF JUSTICE IN
THE ADVICE THEY OFFER TO THE PRESIDENT, OR TO PUNISH ANY
OFFICER WHO DISAGREES WITH THE VIEWS OF OTHER PRINCIPAL
OFFICERS OR PARTICULARLY WITH THE INDIVIDUAL OPINIONS OF THE
ACTING ATTORNEY GENERAL OR DEPUTY ATTORNEY GENERAL AND SO
ADVISES THE PRESIDENT UPON REQUEST

       The President of the United States is the chief law enforcement officer of the

United States and is the ultimate decision maker on all contested issues of policy on

which advice has been requested. U.S. Const. art. II cl. 1 (Vesting Clause). The

President is advised in that capacity by the officers who exercise the authorities

assigned by law to the Department of Justice. These include the Attorney General,

any Acting Attorney General, the Deputy Attorney General, the Principal Associate

Deputy Attorney General, and Senate-confirmed Assistant Attorneys General.

Nothing in the Constitution and laws of the United States limits the President’s

unreviewable authority to seek the opinion of any subordinate, or the absolute the

duty of any such subordinate to respond to a Presidential request with anything other

than “candid advice” formed on the basis of “independent professional judgment”.

U.S. Const. art. II, § 2, cl. 1 (Opinion Clause). D.C. R.P.C. 2.1 & Comment [1].




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      The Charges repeatedly, and erroneously, assume that Senate-confirmed

attorneys who exercise the authorities of the Department of Justice entrusted to them

by virtue of their appointments may not ethically dissent from the “consensus view”

within the Department or from the publicly expressed opinions of a former Attorney

General, or with the privately expressed opinions or policy advice of others holding

Senate-confirmed positions within the Department of Justice. Neither Acting

Attorney General Rosen nor former Principal Associate Deputy Attorney General

Donoghue, performing the duties of the Deputy Attorney General, were the ultimate

decision makers. Nor did they speak in meetings with the President for some

collective entity known as “The Department of Justice;” they spoke for themselves

in their respective official capacities as advisors to the President of the United States,

with the President at all times retaining the ultimate unitary law enforcement power

under the Take Care Clause.

      It is especially wrong as a legal matter to conflate the views of the Department

of Justice with the views of Messrs. Rosen and Donoghue where there was the

prospect (or later, for a time, the actuality) that the President would replace one or

the other of them with Respondent, allowing Respondent to determine the final

views of the Department of Justice prior to a decision by the President of whether to

concur or overrule any such tentative determination.




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      By virtue of his appointment and in accordance with his obligations as a

lawyer, Respondent was obligated to and entitled to express his “independent

professional judgment” and to submit his “candid” advice to the President upon

request.

    E I G H T H D E F E N S E —J U R I S D I C T I O N I S A B S E N T O V E R F E D E R A L
EXECUTIVE BRANCH DELIBERATIONS IN LIGHT OF THE SEPARATION OF
                   POWERS AND THE SUPREMACY CLAUSE

      The D.C. Bar lacks jurisdiction over the conduct of the Respondent referred

to in the Charges because 28 U.S.C. § 530B(a) does not grant to local bar regulatory

entities any authority to regulate the conduct of U.S. Department of Justice lawyers

in the course or conduct of confidential internal policy deliberations inside the

Department or at the White House. Nor does the statute, by its terms, authorize the

D.C. Bar to oversee the enforcement of internal DOJ and Executive Branch policies

governing the conduct of their respective internal operations. If the statute were read

to do so as to the D.C. Bar or D.C. Court of Appeals, it would violate the separation

of powers because both the Bar and the D.C. Court of Appeals are creatures of

Article I established by Congress and Congress cannot penetrate into the internal

deliberations of the Executive Branch established under Article II to try to shape

how those deliberations are conducted. Additionally, because Section 530B(a) refers

to state laws and rules, even if D.C. could be considered a covered analogue of a

State (which it is not because Congress must speak with clarity to deem that D.C. be



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treated as if it were a State), application of Section 530B(a) to internal Executive

Branch deliberations would be constitutionally conflict preempted as violative of the

Supremacy Clause, U.S. Const., art. VI, cl. 2. States also lack the constitutional

power to intrude on the Executive Branch’s deliberations.

 N I N T H D E F E N S E —T H E B O A R D H A S N O J U R I S D I C T I O N T O R E S O L V E A N
                                INTERBRANCH DISPUTE

       The Board may not, consistent with the separation of powers, hear a complaint

filed by a member of one branch of government against a lawyer serving in another

branch of government to try to call down bar discipline onto advice or policy

proposals offered in such a lawyer’s official capacity. An effort by a Senator or other

Member of Congress to utilize the Board’s procedures and personnel as weapons in

a federal interbranch dispute presents political question (see infra) that is not

justiciable in a disciplinary proceeding brought by the D.C. Bar. At the very least,

such a dispute would be a separation of powers conflict that would have to be heard

and could only be resolved by an Article III (not Article I) court or its adjunct.

T E N T H D E F E N S E —N O T E S T I M O N Y V I O L A T I N G E X E C U T I V E P R I V I L E G E &
   THE SEPARATION OF POWERS CAN BE USED AGAINST RESPONDENT

       The testimony against Respondent relied upon or solicited by ODC was given

in violation of executive privilege, a vital component of the separation of powers,

and also in violation of the separation of powers doctrine itself because the testimony

facilitated an ultra vires intrusion by Congress and a local government entity into



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the internal deliberations of the Executive Branch, and thus constitutes unethical

conduct by any lawyers who provided such testimony, not unethical conduct by

Respondent.

      E L E V E N T H D E F E N S E —N O R E S P O N D E N T T E S T I M O N Y C A N B E
           COMPELLED IN VIOLATION OF EXECUTIVE PRIVILEGE

      Respondent cannot be forced to testify in violation of executive privilege.

 TWELFTH DEFENSE— NO TESTIMONY VIOLATING LAW ENFORCEMENT
         PRIVILEGE CAN BE USED AGAINST RESPONDENT

      The testimony against Respondent relied upon or solicited by ODC was given

in violation of law enforcement privilege and thus constitutes unethical conduct by

any lawyers who provided such testimony, not unethical conduct by Respondent.

     T H I R T E E N T H D E F E N S E —N O R E S P O N D E N T T E S T I M O N Y C A N B E
     COMPELLED IN VIOLATION OF LAW ENFORCEMENT PRIVILEGE

      Respondent cannot be forced to testify in violation of law enforcement

privilege, especially not as selectively enforced by the current U.S. Department of

Justice, which appeared at certain congressional depositions of Messrs. Rosen and

Donoghue (and possibly others) to assert law enforcement privilege over some

questions going to DOJ law enforcement activities related to the 2020 presidential

election but not over other questions on the same topic. Waiver and assertion of law

enforcement privilege cannot be used as both a sword and a shield against

Respondent in any manner consistent with his constitutional rights to due process

and confrontation of witnesses against him.


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    F O U R T E E N T H D E F E N S E —N O T E S T I M O N Y V I O L A T I N G A T T O R N E Y -
          CLIENT PRIVILEGE CAN BE USED AGAINST RESPONDENT

      The testimony against Respondent solicited by ODC was given in violation

of attorney-client privilege and thus constitutes unethical conduct by any lawyers

who provided such testimony, not unethical conduct by Respondent.

      F I F T E E N T H D E F E N S E —N O R E S P O N D E N T T E S T I M O N Y C A N B E
      C O M P E L L E D I N V I O L A T I O N O F A T T O R N E Y -C L I E N T P R I V I L E G E

      Respondent cannot be forced to testify in violation of attorney-client privilege.

   S I X T E E N T H D E F E N S E —T E S T I M O N Y I N V I O L A T I O N O F A P P L I C A B L E
                    PRIVILEGES WOULD VIOLATE DUE PROCESS

      Receiving testimony against Respondent into evidence in this proceeding that

was given in violation of any of executive privilege, law enforcement privilege, or

attorney-client privilege would violate due process because Respondent, observing

one or more of the applicable privileges, cannot counter the testimony given against

him without violating one or more of the privileges, creating a procedural Catch-22

of which ODC and the D.C. Bar generally have now been put on notice.

 S E V E N T E E N T H D E F E N S E —T E S T I M O N Y I N V I O L A T I O N O F A P P L I C A B L E
       PRIVILEGES WOULD VIOLATE THE CONFRONTATION CLAUSE

      Receiving the testimony against Respondent into evidence in this proceeding

that violates any of executive privilege, law enforcement privilege, or attorney-client

privilege would violate the Confrontation Clause (U.S. Const., amend. VI) because

Respondent, observing one or more of the applicable privileges, cannot counter and




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thus confront the testimony given against him without violating one or more of the

privileges, creating a second procedural Catch-22.

E I G H T E E N T H D E F E N S E —D.C. B A R J U R I S D I C T I O N W O U L D V I O L A T E T H E
                               MAJOR QUESTIONS DOCTRINE

       The D.C. Bar lacks jurisdiction over the conduct of the Respondent referred

to in the Charges because 28 U.S.C. § 530B does not clearly delegate to the

Department of Justice the power to confer on the District of Columbia authority to

regulate lawyers serving in the Department of Justice, especially not those

interacting with the President to deliberate and decide on questions that reach the

President for resolution. See, e.g., West Virginia v. EPA, 142 S. Ct. 2587 (2022);

Hickman v. Train, 426 U.S. 167 (1976); OLC Opinion.

       West Virginia establishes a clear-statement rule known as the “major questions

doctrine.” Whether considered (1) as a class of questions (i.e., whether state and

local bars can ever regulate internal Executive Branch deliberations on legal matters)

or (2) an as-applied question of whether Respondent’s legal advice and opinions on

extant facts as rendered to the President and to his Department of Justice superiors

concerning irregularities in the 2020 presidential election, major questions are

presented. As such, any statute authorizing state, local, or D.C. regulation of such

questions requires a clear statement from Congress delegating that power. These are

major questions of both a political nature and implicate core features of federalism

and/or the separation of powers. Id. at 2607-08; id. 2617, 2621 (Gorsuch, J.,


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concurring) (doctrine protects both separation of powers and federalism).

   N I N E T E E N T H D E F E N S E —DOJ R E G U L A T I O N A T 28 C.F.R. § 77.2(h),
P U R P O R T I N G T O G I V E D.C. B A R J U R I S D I C T I O N V I O L A T E S T H E C H E V R O N
            DOCTRINE BECAUSE THE REGULATION IS CONTRARY TO
                                      28 U.S.C. § 503B

       Even if the D.C. Bar could surmount the hurdle of the major questions

doctrine (which it cannot), the D.C. Bar lacks jurisdiction over the conduct of the

Respondent referred to in the Charges because 28 C.F.R. § 77.2(h), the Justice

Department regulation adopted under 28 U.S.C. § 530B, purports to grant the

District of Columbia some regulatory authority over lawyers serving in the

Department of Justice, but that is an expansion of Section 530B not authorized by

the text of the statute. To the extent the regulation purports to do so, it is invalid

under Chevron step one. Chevron, U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837, 843 n.9

(1984); see also West Virginia, 142 S. Ct. at 2609 (“We presume that Congress

intends to make major policy decisions itself, not leave those decisions to agencies.”

(cleaned up)). West Virginia thus establishes a Chevron step zero that Section 77.2(h)

flunks because there is no indication that Congress ever wished to commit to States

or to Article I local government entities like this Bar and the D.C. Court of Appeals

the major question of how the Executive Branch and, in particular, the Justice

Department, conducts legal and factual deliberations at the core of the President’s

Article II law enforcement authorities.




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    T W E N T I E T H D E F E N S E —T H E D.C. C O U R T O F A P P E A L S A N D I T S
 SUBORDINATE ENTITIES LACK SUPERVISORY JURISDICTION OVER THE
                                   CHARGED CONDUCT

       The D.C. Bar lacks jurisdiction over the conduct of the Respondent referred

to in the Charges because none of the conduct as alleged occurred in a setting over

which a local Court of the District of Columbia has supervisory jurisdiction. The

authority to regulate the confidential internal policy-making, legal advisory

deliberative conduct of senior U.S. Justice Department lawyers such as Respondent,

as alleged in the Charges, lies in the Executive Branch alone.

   T W E N T Y -F I R S T D E F E N S E —F I N D I N G A V I O L A T I O N B A S E D O N T H E
  CHARGES WOULD VIOLATE THE FIRST AMENDMENT’S PROTECTIONS
      FOR SPEECH, ASSOCIATIONS, AND POLITICAL AFFILIATION

       The D.C. Bar lacks jurisdiction over the conduct of the Respondent referred

to in the Charges because the First Amendment provides absolute protection for

political speech and legal opinion given in good faith on a matter of public

importance by a senior U.S. Justice Department lawyer acting within the scope of

his authority as a senior officer of the Executive Branch. Respondent also cannot be

penalized for his political affiliations, associations, or speech.

T W E N T Y -S E C O N D D E F E N S E —D.C. B A R J U R I S D I C T I O N W O U L D V I O L A T E
           28 U.S.C. § 530B’ S L I M I T E D S T A T U T O R Y J U R I S D I C T I O N

       The D.C. Bar lacks statutory jurisdiction over the conduct of the Respondent

referred to in the Charges because, even if 28 U.S.C. § 530B granted disciplinary

authority in circumstances like those here to the D.C. Bar, it only does so “to the


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same extent and in the same manner as other attorneys in that State,” and the D.C.

Bar has never charged, much less disciplined, conduct like that alleged in the

Charges.

 T W E N T Y -T H I R D D E F E N S E —D.C. B A R J U R I S D I C T I O N W O U L D V I O L A T E
     28 C.F.R. § 77.2(j)(2)’ S L I M I T E D R E G U L A T O R Y J U R I S D I C T I O N

         Even if there were valid Section 530B statutory jurisdiction here (which there

is not), the D.C. Bar lacks regulatory jurisdiction over the conduct of the Respondent

referred to in the Charges because 28 C.F.R. § 77.2(j)(2) (even assuming Section

77.2 is a valid enactment consistent with both the major questions doctrine and

Chevron, which it is not, at least as applied here) denies jurisdiction to the D.C. Bar

where it would otherwise exist if the D.C. Bar “would not ordinarily apply its rules

of ethical conduct to particular conduct or activity by the attorney.” The D.C. Bar

not only does not ordinarily apply its rules of ethical conduct to the charged conduct

of the Respondent, it has never done so and ODC has never offered a single case for

that proposition to rebut this defense, despite being challenged to do so multiple

times.

 T W E N T Y -F O U R T H D E F E N S E – R E S P O N D E N T I S E N T I T L E D T O O F F I C I A L
                        IMMUNITY OR QUALIFIED IMMUNITY

         The conduct referred to in the Charges is not subject to discipline by the D.C.

Bar under the doctrine of official immunity. See, e.g., Nixon v. Fitzgerald, 457 U.S.

731 (1982); Banneker Ventures, L.L.C. v. Graham, 798 F.3d 1119 (2015); Clifton v.



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Cox, 549 F.2d 722, 729-30 (9th Cir. 1977). In the alternative, he is entitled to

qualified immunity.

  T W E N T Y -F I F T H D E F E N S E —F A I L U R E T O S T A T E A R U L E S V I O L A T I O N

      The Charges fail to state a violation of the Rules of Professional Conduct.

    T W E N T Y -S I X T H D E F E N S E —L A C K O F D U E P R O C E S S F A I R N O T I C E

      Respondent lacks fair notice that the conduct alleged in the Charges

constituted a violation of the D.C. Bar Rules. There is no case like this one in the

annals of ethical decisions in the District or in any State in the Nation. No Senate-

confirmed lawyer at the Justice Department in December 2020 to January 3, 2021

could possibly have rationally expected that the local ethics rules would either apply

or that they would be claimed to have been violated by taking a position in an internal

Executive Branch dispute. As such, the Charges violate due process.

   T W E N T Y -S E V E N T H D E F E N S E —N O V I O L A T I O N O F R U L E 8.4( A ) F O R
    CONFIDENTIAL, INTERNAL, PRE-DECISIONAL DISCUSSION DRAFT
     DOCUMENTS PROPOSING A CHANGE IN POLICY FOR DISCUSSION

      The Charges fail to state a violation of Rules of Professional Conduct 8.4(a)

and 8.4(d) because it is logically and legally impossible to make an “attempted” false

statement of fact concerning Department of Justice findings, determinations, or

policy in a confidential, internal, pre-decisional DOJ discussion draft when the draft

self-evidently proposed a change in the findings, determinations, and policy that on

their face could not be operative without the approval of Respondent’s superiors,



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including the President. The draft letter the Charges focus on presents a colorable

view of relevant sworn facts presented in a Georgia state legislative process.

   T W E N T Y -E I G H T H D E F E N S E —R U L E S 8.4(a) A N D 8.4(d) C A N N O T B E
      V I O L A T E D W H E R E R U L E 2.1 C O N D U C T D E S I G N E D T O M A K E A
        PROPOSAL TO SUPERIOR LAWYERS AND TO THE ULTIMATE
                            DECISIONMAKER IS INVOLVED

      The Charges fail to state a violation of Rules of Professional Conduct 8.4(a)

and 8.4(d) because it is logically and legally impossible for any lawyer, including

Respondent, to “attempt” a “serious interference with the administration of justice”

while proposing, in conformity with D.C. Rule of Professional Conduct 2.1, a

position in confidential internal pre-decisional policy deliberations on contested

issues of fact, law, and policy that was subject to approval by Respondent’s

superiors, including by the President of the United States as the ultimate authority.

  T W E N T Y -N I N T H D E F E N S E —N O V I O L A T I O N O F R U L E 8.4(c) W H E N
 SUPERIOR LAWYERS WOULD NOT ALLOW ACCESS TO INVESTIGATIVE
                                          FILES

      Respondent cannot have engaged in conduct involving dishonesty, fraud,

deceit, or misrepresentation in violation of Rule 8.4(c) as to the draft letter the

Charges focus on, since the draft letter facially relies on sworn evidence presented

to a Georgia state legislative body, where Messrs. Rosen and Donoghue would not

share any DOJ investigative information with Respondent and instead presented the

President of the United States and Respondent with an ipse dixit based only on their




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personal assurances that whatever they had opted to investigate meant that there was

no more investigation that should be done.4

       T H I R T I E T H D E F E N S E —N O V I O L A T I O N O F R U L E 8.4(d) W H E R E
       RESPONDENT’S CONDUCT WAS NOT IMPROPER, WRONGFUL, OR
                                       OTHERWISE INVALID

         The Charges fail to state a violation of the Rule 8.4(d) of the Rules of

Professional Conduct because Respondent’s conduct as alleged was not improper,

independently wrongful, or otherwise unlawful.

 T H I R T Y -F I R S T D E F E N S E —R U L E 8.4(d) I S N O T V I O L A T E D W H E R E T H E
 FINAL DECISIONMAKER RESOLVES CONFLICTING ADVICE AND NEVER
   COMPLAINS ABOUT THE DEBATE RAISED TO HIM BY HIS LAWYERS

         The Charges fail to state a violation of the Rule 8.4(d) of the Rules of

Professional Conduct because they allege that Respondent engaged in a debate with

other senior Department of Justice Officials over contested questions of fact, law,

policy and what course of action the best administration of justice required, that these

officials collectively submitted that dispute to the President for resolution, and the

President decided the matter with finality, without complaining that the debate had

been brought to him for resolution.




4 This defense is not and cannot be construed as Respondent making statements in violation of the applicable privileges
(see supra) but is instead based on information and belief about Messrs. Rosen and Donoghue’s statements to ODC
(which Respondent has not yet been provided), assuming that testimony is consistent with their testimony to the Senate
Judiciary Committee and their thus far known testimony to the House Select Committee on January 6.


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T H I R T Y -S E C O N D D E F E N S E —N O V I O L A T I O N O F R U L E 8.4( D ) W H E R E N O
  IMPACT ON ANY LEGAL PROCEEDING WAS CAUSED BY THE ALLEGED
                      CONDUCT AND THERE WAS NO IMPACT ON
                           T H E E V E N T S O F J A N U A R Y 6, 2021

       The Charges fail to state a violation of Rule 8.4(d) of the Rules of Professional

Conduct because they fail to allege that the confidential, pre-decisional discussion

draft at issue had any impact whatsoever on any proceeding anywhere or that

Respondent himself attempted to interfere in any proceeding anywhere either before

or after his policy proposals were rejected. Nor did the alleged confidential, pre-

decisional discussion draft have any impact on the events of January 6, 2021 because

press stories based on anonymous leaks from a January 3, 2021 meeting said to have

involved the President and only a group of lawyers including Respondent did not

emerge until weeks after January 6, 2021. Put differently and for example, no one

could have marched on the Capitol in reliance on confidential advice given to the

President based on publicly unknown policy deliberations not revealed until weeks

after January 6.




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T H I R T Y -T H I R D D E F E N S E —N O V I O L A T I O N O F R U L E S 8.4(a), (c), O R (d)
        I N C O U N S E L I N G T H E N E E D F O R A D D I T I O N A L 2020 E L E C T I O N
  INVESTIGATIONS, IF THE INVESTIGATIONS THAT WERE PERFORMED
                       WERE NONEXISTENT OR EXAGGERATED

       Respondent cannot be found to have violated any aspect of Rule 8.4(a), (c),

or (d) if former Attorney General Barr and Messrs. Rosen and Donoghue did not

perform thorough multi-state investigations of election irregularities in 2020 as one

witness has averred (former U.S. Attorney William McSwain) and as another has

sworn to in testimony (Heidi Stirrup). Failing to conduct a federal investigation of

irregularities that did or may have affected the outcome of the 2020 presidential

election is a serious federal responsibility, not just a responsibility of state and local

authorities or one that can be sloughed off onto the Trump campaign. Additionally,

the U.S. Justice Department possesses not just criminal tools but civil enforcement

tools. Respondent is entitled to show, as a defense to the allegations in the Charges,

that his superiors at the Justice Department engaged in a dereliction of duty in how

they approached the election irregularities involved in the 2020 election.

  T H I R T Y -F O U R T H D E F E N S E —S I G N I F I C A N T B O D I E S O F I N F O R M A T I O N
  E X I S T I N G P R I O R T O J A N U A R Y 3, 2021 A N D C O N F I R M E D T H E R E A F T E R
         J U S T I F I E D A D D I T I O N A L E L E C T I O N I N V E S T I G A T I O N S B Y DOJ

       Significant bodies of information about election irregularities available before

January 3, 2021 justified Respondent’s actions. A reasonable lawyer at the Justice

Department could have formed a good-faith belief that the level of investigation by

Messrs. Barr, Rosen, and Donoghue as they testified to Congress concerning the


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election was insufficient. Additionally, significant new bodies of information

developed after January 3, 2021 reinforce the reasonableness of Respondent’s

alleged actions prior to and including on January 3, 2021.

 T H I R T Y -F I F T H D E F E N S E —N O R U L E O F P R O F E S S I O N A L C O N D U C T W A S
               VIOLATED AND ESPECIALLY NONE WAS VIOLATED
                                        WITH SCIENTER

       Respondent denies that he has violated any Rule of Professional Conduct as

alleged in the Charges and the Charges do not aver (or sufficiently aver) that

Respondent harbored any scienter to act in a dishonest fashion for self-gain or to

achieve an illicit objective for former President Trump.

  T H I R T Y -S I X T H D E F E N S E —ODC’ S P R O S E C U T I O N H E R E I S P O L I T I C A L
                                         IN NATURE

       The Charges should be dismissed because they are brought for political

reasons rather than any concern for enforcement of the Rules of Professional

Responsibility. Consider that ODC appears not to have opened any investigation,

despite the passage of about 19 months, into the anonymous leaks concerning the

January 3, 2021 Oval Office meeting to the New York Times in late January 2021,

and despite other questionable conduct of Messrs. Barr, Rosen, and Donoghue as

referenced in this Answer.




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      T H I R T Y -S E V E N T H D E F E N S E —P O L I T I C A L Q U E S T I O N D O C T R I N E

       The Charges present political questions that the D.C. Court of Appeals is

unable to reach and thus any administrative quasi-judicial adjunct of that Court

operating under the rubric of the D.C. Bar similarly lacks such power.

     T H I R T Y -E I G H T H D E F E N S E —V I O L A T I O N O F E Q U A L P R O T E C T I O N

       The Office of Disciplinary Counsel wields its disciplinary authority here in a

politically biased manner, prosecuting Republicans and especially supporters of

former President Trump with excessive and improper zeal, while turning a blind eye

to or only belatedly and grudgingly stirring itself to administer reluctant slaps on the

wrist for egregiously dishonest or felonious conduct by Democrats and opponents of

President Trump such as Kevin Clinesmith and Michael Sussman. This selective

prosecution/disparate treatment of alleged violations of the Rules of Professional

Conduct violates the equal protection component of the Fifth Amendment of the

United States Constitution. See Adarand Constructors, Inc. v. Pena, 515 U.S. 200,

214–18 (1995).

 T H I R T Y -N I N T H D E F E N S E —S E L E C T I V E P R O S E C U T I O N I N V I O L A T I O N O F
T H E C O N S T I T U T I O N A N D D.C. R U L E O F P R O F E S S I O N A L C O N D U C T 3.8(a)

       The Charges constitute a selective prosecution that violates equal protection,

due process, and D.C. Rule of Professional Conduct 3.8(a). Many Democrat

members of Congress and Democrat lawyers have questioned electoral victories by

Republican Presidents Elect and none of them appear to have ever faced ethics


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charges as a result.

    F O R T I E T H D E F E N S E —ODC, O N I N F O R M A T I O N A N D B E L I E F , I S
 VIOLATING DUE PROCESS BY COMMUNICATING WITH AND COLLUDING
                                   WITH CONGRESS

       On information and belief, including the suspicious chronology of certain

actions by ODC as they relate to actions by the January 6 Select Committee and the

refusal of ODC to release to Respondent communications with members of Congress

or their staff (including on the Senate side), ODC has been working as an adjunct to

Congress rather than as an independent local prosecutor confined to looking to local

rule considerations (and defenses under any applicable source of law). Such

improper collusion, if proven, would constitute a violation of Respondent’s due

process rights under the Fifth Amendment.

 F O R T Y -F I R S T D E F E N S E —ODC C O L L U S I O N W I T H C O N G R E S S V I O L A T E S
                                THE SEPARATION OF POWERS

       Incorporating the Thirty-Ninth Defense by reference, ODC’s coordination

with Congress has deprived Respondent of the benefits of the separation of powers,

since the D.C. Bar is acting in an executive-like prosecutorial capacity, whereas

Congress cannot act in such a capacity and evidence it solicited was gathered in an

unconstitutional and otherwise unlawful fashion. The House Select Committee on

January 6 is not affording due process rights, the analogue of Confrontation Clause

rights, or complying with the evidentiary rule of completeness in its hearings. These

defects are quasi-judicially noticeable and known to ODC.


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  F O R T Y -S E C O N D D E F E N S E —I N V A L I D ODC C O O P E R A T I O N W I T H T H E
        JANUARY 6 COMMITTEE COMPOUNDS THAT COMMITTEE’S
                                    LEGAL INFIRMITIES

      Incorporating the Thirty-Ninth and Fortieth Defenses by reference, ODC

abets a violation of the law governing congressional committees by cooperating with

the January 6 Select Committee because the Committee is malformed in violation of

law, the Committee is violating the governing rules controlling its conduct, and

because it is conducting its proceedings in a Star Chamber-like fashion.

     F O R T Y -T H I R D D E F E N S E —I F ODC H A S B E E N C O L L U D I N G W I T H
     CONGRESS, THE CHARGES CONSTITUTE A BILL OF ATTAINDER
                         DESIGNED TO TARGET RESPONDENT

      If it is correct that ODC worked with one or more congressional Committees,

their members or staff, then the Charges violate the constitutional prohibition on

Bills of Attainder. See U.S. Const., art. I, § 9, cl. 3. Congress cannot evade the

prohibition on Bills of Attainder by marrying its powers with the powers of local

prosecutors to create local law offenses tailor-made to specific individuals.

      F O R T Y -F O U R T H D E F E N S E —ODC M A Y N O T V I O L A T E T H E
CONFIDENTIALITY OF THE INVESTIGATIVE STAGE OF THE DISCIPLINARY
                  PROCESS OR TRY ITS CASE IN THE PRESS

      On information and belief, ODC has been unlawfully coordinating with one

or more members of the media to release information that feeds news stories

attacking Respondent. This is unlawful and/or unethical conduct for Disciplinary

Counsel and ODC more generally in several respects: (a) it violated the

confidentiality of the investigative stage, D.C. Bar Rule XI, Section 17; and (b) it

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had the effect of beginning to try this ethical matter in the press in violation of D.C.

Bar Legal Ethics Opinion No. 358. See also Rules of Professional Conduct 3.6(c)

and 3.8(f).

F O R T Y -F I F T H D E F E N S E —B Y B R E A C H I N G T H E C O N F I D E N T I A L I T Y O F T H E
 I N V E S T I G A T I V E S T A G E , ODC G A V E C O V E R T O T H O S E I T I N T E R V I E W E D
                TO ALSO VIOLATE INVESTIGATIVE CONFIDENTIALITY

       On information and belief, ODC breached the confidentiality of the

investigative stage by informing, explicitly or implicitly, witnesses about the

investigation of Respondent. Since the witnesses were informed in violation of the

confidentiality rules, Disciplinary Counsel and/or others at ODC may have created

opportunities for such witnesses to illegitimately leak to the media and thereby harm

Respondent’s reputation, his ability to mount a defense based on privilege and/or on

the merits, and Respondent’s ability to serve as a faithful Executive Branch agent

protecting the separation of powers, executive, law enforcement, and attorney-client

privileges.

  F O R T Y -S I X T H D E F E N S E —ODC’ S F I L I N G O F C H A R G E S O C C U R R E D A T
     LEAST IN PART TO PENALIZE RESPONDENT FOR EXERCISING HIS
  CONSTITUTIONAL RIGHTS, A COURSE OF CONDUCT THAT VIOLATES
                     DUE PROCESS AND THE FIRST AMENDMENT

       The filing of charges before any adjudication has been made by any federal,

state, or local tribunal of any wrongdoing by Respondent is an attempt to penalize

Respondent for refusing to comply with ODC’s subpoenas (in different forms) in

light of his Fifth Amendment rights not to be forced to testify against himself. Such


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penalization/retaliation is a violation of the Due Process Clause of the Fifth

Amendment. See generally Ex Parte Young, U.S. 193 (1908). This violation of due

process was worsened because Respondent was specifically threatened with having

to later fend off heightened sanctions for invoking his Fifth Amendment rights at the

investigative stage, which is a form of conduct by Disciplinary Counsel that also

constitutes unethical conduct.

    F O R T Y -S E V E N T H D E F E N S E —ODC M A Y N O T F I L E C H A R G E S I N A
    FASHION THAT VIOLATES THE UNCONSTITUTIONAL CONDITIONS
                                           DOCTRINE

      The filing of Charges at this time is an attempt to put Respondent to a

Hobson’s choice in exercising his Fifth Amendment non-testimonial rights vs.

accepting as a risk the loss of his bar license—an action that violates the

unconstitutional conditions doctrine. Granting the pending Motion to Defer that

Respondent has filed would solve some of the legal problems giving rise to this

Forty-Sixth Defense.

 F O R T Y -E I G H T H D E F E N S E —ODC T I M E D T H E F I L I N G O F C H A R G E S T O
   TRIGGER DEADLINES THAT WOULD ARGUABLY HAVE TO BE MET
WHILE RESPONDENT LACKED ACCESS TO HIS LEGAL RESEARCH FILES,
                        THEREBY VIOLATING DUE PROCESS

      The Charges were filed when ODC knew that Respondent, who has been

closely involved in his own legal defense including to ODC’s investigations, would

be without access to the computer equipment on which he stored his legal research

going all the way back to January 2022. The U.S. Department of Justice Office of


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Inspector General raid on Respondent’s home removing all of his electronic devices

was widely and publicly reported. Only within the last few business days has the

Department of Justice broached with undersigned counsel arranging for return of

some, but not all of the devices. Those devices were returned on September 1, 2022,

just before this Answer became due under protest. Filing charges when the subject

lawyer is known to be placed in a difficult and artificially handicapped situation is a

violation of Fifth Amendment due process. ODC could have contacted undersigned

counsel to at least hold off the filing of charges until Respondent had access to his

legal research files once more.

 F O R T Y -N I N T H D E F E N S E —D U E P R O C E S S I S V I O L A T E D I F R E S P O N D E N T
         CONTINUES NOT TO BE ALLOWED TO ACCESS AND DEPLOY
             NATIONAL SECURITY INFORMATION IN HIS DEFENSE

       The Justice Department has repeatedly refused to allow unrestricted access to

the intelligence community report on foreign election interference, so that

Respondent can use it in his defense. As a result, proceeding with this action would

violate due process. Additionally (and amplifying the due process defects), during

the relevant timeframe, the Justice Department (a participant in the “intelligence

community”) blew hot and cold on whether there was foreign election interference

in 2020, as has recently come to the fore in an acknowledgment by Facebook’s Mark




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Zuckerberg that the FBI urged him to censor the Hunter Biden laptop story by using

algorithmic throttling techniques.5

     F I F T I E T H D E F E N S E —ODC’ S I N A B I L I T Y T O S H O W T H A T I T S
 INVESTIGATION BEGAN WITH A COMPLAINT FILED BY SOMEONE WITH
   PERSONAL KNOWLEDGE REINFORCES THE LACK OF REGULATORY
                       J U R I S D I C T I O N U N D E R S E C T I O N 77.2

        No client for the relevant legal advice, analysis, or investigative actions of

Respondent has complained of his conduct. This matter began in violation of the

D.C. Bar’s longstanding policy to not process complaints lacking in personal

knowledge. Senator Durbin filed the relevant complaint to ODC and he has no

personal knowledge of any the facts or charges alleged in the Specification. This

defense also reinforces the Nineteenth Defense, above, which denies state and local

bars jurisdiction under Section 77.2’s requirement that bars cannot proceed where it

“would not ordinarily apply its rules of ethical conduct to particular conduct or

activity by the attorney.”

                F I F T Y -F I R S T D E F E N S E —R E S J U D I C A T A /P R E C L U S I O N

        The second impeachment trial of President Trump resulted in acquittal and

during the trial in the Senate, Respondent’s conduct as attacked in the Charges was

explicitly questioned and argued to be improper at this impeachment trial. The lack



5 See Thomas Barrabi, Mark Zuckerberg Tells Joe Rogan Facebook Was Wrong to Ban the Post’s Hunter Biden
Laptop Story, NEW YORK POST (Aug. 25, 2022), https://tinyurl.com/bdeysxck, last visited Sep. 1, 2022 (“[Zuckerberg]
said the platform opted to limit sharing on the story—but not halt it entirely—after the FBI told Meta employees to
be wary of Russian propaganda ahead of the election”) (emphasis added).


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of a finding of guilt is res judicata benefitting President Trump and any of his

subordinates who may have agreed with him that the 2020 election was a proper

subject to be questioned and investigated more thoroughly by the federal

government. Alternatively, issue preclusion (collateral estoppel) bars the Charges.

 F I F T Y -S E C O N D D E F E N S E —ODC C A N N O T B E A L L O W E D T O A R T F U L L Y
                      P L E A D A R O U N D R U L E 8.4(b) I N O R D E R T O
                             RUSH RESOLUTION OF THIS CASE

      ODC cannot avoid actual or potential overlap between this proceeding and

any possible future criminal matter by artfully pleading around asserting a violation

of Rule 8.4(b). ODC is motivated to engage in such a pleading trick in order to try

to avoid increasing the likelihood that the Board would grant deferral relief as to the

Charges. In many respects, ODC is imprudently trying to rush its Charges, even if

they could otherwise run the gauntlet of all jurisdictional and merits defenses, which

it cannot.

  F I F T Y -T H I R D D E F E N S E —T H E C H A R G E S V I O L A T E T H E D.C. H U M A N
 RIGHTS ACT BECAUSE THEY DISCRIMINATE AGAINST RESPONDENT’S
                       POLITICAL AFFILIATIONS AND BELIEFS

      Respondent is being discriminated against in violation of D.C. Human Rights

Act, § 2-1401.01, on account of his political affiliation and beliefs.




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          F I F T Y -F O U R T H D E F E N S E - R E S P O N S E T O E N U M E R A T E D
                              C H A R G E S /G E N E R A L D E N I A L

      Answering specially and subject to and without waiving any of the foregoing

defenses, particularly the jurisdictional defenses, Respondent answers the

enumerated paragraphs of the Charges as follows:

                                                1.

      Admitted. Respondent admits that at the time of the conduct alleged in the

Charges he was the Senate-confirmed Assistant Attorney General for the

Environment and Natural Resources Division of the Department of Justice as well

the Acting Assistant Attorney General for the Civil Division, making him the only

Assistant Attorney General supervising two of the Justice Department’s seven

litigating Divisions.

                                        2. through 31.

      In response to enumerated paragraphs 2 through 31, Respondent declines to

answer and asserts his rights under the Fifth Amendment privilege against self-

incrimination To the extent any answer is required, and preserving his Fifth

Amendment rights against self-incrimination, Respondent generally denies all

allegations of professional misconduct in paragraphs 2-31. See In re Artis, 883 A.2d

85, 93 (D.C. 2005).




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      To the extent any further answer is required, and preserving his Fifth

Amendment rights against self-incrimination, any allegations not otherwise

generally denied are hereby generally denied.

      Respectfully submitted this 1st day of September, 2022.


/s/ Charles Burnham                       Robert A. Destro*
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progress




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Answer of Respondent by U.S. First Class Mail with sufficient

postage thereon to insure delivery, and by email addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 1st day of September, 2022.


                                      /s/ Charles Burnham
                                      Charles Burnham
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